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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-CR-175 (TJK)
                                              :
ETHAN NORDEAN,                                :
JOSEPH BIGGS,                                 :
ZACHARY REHL, and                             :
CHARLES DONOHOE,                              :
                                              :
                                              :
                       Defendants.            :

               GOVERNMENT’S MOTION FOR LIMITED UNSEALING OF
               THE TRANSCRIPT OF THE HEARING ON FEBRARY 8, 2022

        On February 8, 2022, the Court held a status hearing in the above case that was partially

sealed. The government moves the Court to issue an order unsealing the transcript from the sealed

hearing for the limited purpose of allowing the court reporter to provide copies of the transcript to

the parties in this case. The transcript should otherwise remain sealed and be treated as such by

the parties.

                                              Respectfully submitted,

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                                              United States Attorney
                                              DC Bar No. 481052

                                     By:      /s/ Luke M. Jones
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